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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                               )
     In re:                                                    )        Chapter 11
                                                               )
     SIZMEK INC., et al.,1                                     )        Case No. 19-10971 (SMB)
                                                               )
                                       Debtors.                )        (Jointly Administered)
                                                               )

         ORDER GRANTING IN PART DEBTORS’ MOTION FOR ORDER PURSUANT
        TO BANKRUPTCY CODE SECTIONS 105, 365, AND 554, BANKRUPTCY RULES
        6006 AND 9014, AND LOCAL BANKRUPTCY RULE 6006-1 AUTHORIZING AND
        APPROVING EXPEDITED PROCEDURES FOR REJECTION OR ASSUMPTION
         OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES AND GRANTING
                                  RELATED RELIEF

                    Upon the motion (the “Motion”)2 of Debtors for an order, pursuant to sections 105,

 365, and 554 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 6006 and 9014

 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 6006-1 of the

 Local Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy Rules”),

 authorizing and approving procedures (the “Contract Procedures”) for Debtors to reject or assume

 executory contracts and unexpired leases (the “Contracts”) and granting related relief; and due and

 sufficient notice of the Motion having been given under the particular circumstances; and it

 appearing that no other or further notice need be provided; and it appearing that the relief requested

 by the Motion is in the best interests of Debtors, their estates, their creditors, their stakeholders,

 and other parties in interest; and after due deliberation thereon, and sufficient cause appearing

 therefor, it is hereby


 1
       Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
       Inc. (6402); Wireless Artist LLC (0302); WirelessDeveloper, Inc. (9686); X Plus One Solutions, Inc. (8106);
       and X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these chapter
       11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.

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                         ORDERED, ADJUDGED AND DECREED that:

      1.       The Motion is GRANTED as set forth herein.

      2.       Debtors are authorized to implement the following approved procedures (the

 “Rejection Procedures”) in connection with the rejection of any Contract of Debtors during these

 chapter 11 cases:

               a.       Rejection Notice. Debtors will file a notice to reject any Contract (the
                        “Rejection Notice”), which notice shall be in form and substance reasonably
                        satisfactory to the Committee and the Prepetition Secured Parties (as
                        defined in the First Day Declaration), pursuant to Bankruptcy Code section
                        365, substantially in the form attached hereto as Exhibit 1, which shall set
                        forth the following information, based on the best information available to
                        Debtors and as applicable: (i) the Contract(s) that Debtors seek to reject;
                        (ii) the Debtor or Debtors party to such Contract(s); (iii) the name(s) and
                        address(es) of the counterparties to such Contract(s); (iv) the proposed
                        effective date of the rejection for each such Contract (the “Rejection Date”),
                        which date may not be before the date of service of the Rejection Notice;
                        (v) if such Contract is a lease, the personal property to be abandoned, if any,
                        and an estimate of the book value of such property; and (vi) the deadlines
                        and procedures for filing objections to the Rejection Notice, as set forth
                        below. The Rejection Notice may list multiple Contracts, provided that the
                        number of counterparties to Contracts listed on the Rejection Notice shall
                        be limited to no more than 100 absent further Court authorization.

               b.       Service of the Rejection Notice. Debtors will cause the Rejection Notice to
                        be served upon the following parties (collectively, the “Rejection Notice
                        Parties”), in the following manner: (i) by overnight delivery service, email,
                        or fax on any non-Debtor Contract counterparty affected by the Rejection
                        Notice, and (ii) by first class mail, email or fax upon (a) the Office of the
                        United States Trustee, U.S. Federal Office Building, 201 Varick Street,
                        Suite 1006, New York, NY 10014, Attn: Richard C. Morrissey
                        (richard.morrissey@usdoj.gov); (b) counsel to the Prepetition Secured
                        Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                        39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                        David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com);
                        (c) proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards,
                        New York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                        (svanaalten@cooley.com and mklein@cooley.com); and (d) to the extent
                        not listed herein, any such other party entitled to notice pursuant to Local
                        Bankruptcy Rule 9013-1(b).

               c.       Objection Procedures. Parties objecting to a proposed rejection of a
                        Contract must file and serve a written objection so that such objection is

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                       filed with this Court and is actually received by the following parties
                       (collectively, the “Objection Service Parties”) no later than fourteen (14)
                       calendar days after the date Debtors serve the relevant Rejection Notice (the
                       “Rejection Objection Deadline”): (i) counsel to Debtors, Katten Muchin
                       Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven J.
                       Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP,
                       525 W. Monroe Street, Chicago, IL 60661, Attn: Peter A. Siddiqui
                       (peter.siddiqui@kattenlaw.com); (ii) the Office of the United States
                       Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New
                       York,      NY       10014,     Attn:           Richard     C.      Morrissey
                       (richard.morrissey@usdoj.gov); (iii) counsel to the Prepetition Secured
                       Lenders, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Stars,
                       39th Floor, Los Angeles, California 90067, Attn: Thomas E. Patterson &
                       David A. Fidler (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); and
                       (iv) proposed counsel to the Committee, Cooley LLP, 55 Hudson Yards,
                       New York, NY 10001, Attn: Seth Van Aalten and Michael Klein
                       (svanaalten@cooley.com and mklein@cooley.com); and (v) to the extent
                       not listed herein, any such other party entitled to notice pursuant to Local
                       Bankruptcy Rule 9013-1(b).[SMB: 5/21/19]

               d.      No Objection. If no objection to the rejection of a Contract is timely filed
                       in compliance with subparagraph (c) of this paragraph, Debtors may submit
                       to the Court a proposed order under certification of counsel (the “Rejection
                       Order”) granting such relief and including a statement confirming the
                       absence of a timely objection. Debtors shall cause the Rejection Order to
                       be served by overnight delivery service, email, or fax on any non-Debtor
                       Contract counterparty affected by the Rejection Order. Following the filing
                       of such Rejection Order, the applicable Contract shall be deemed rejected
                       as of the applicable Rejection Date set forth in the Rejection Notice, without
                       further notice, hearing, or order of this Court, unless (i) Debtors withdraw
                       such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and
                       the pertinent counterparty or counterparties agree, prior to the Rejection
                       Date, upon another such date; provided, however, that the Rejection Date
                       for a rejection of a lease non-residential real property shall not be earlier
                       than the later of (a) the date the Debtors file and serve the Rejection Notice,
                       (b) the date of the Debtors’ unequivocal surrender of the leased premises
                       via the delivery of the keys, key codes, and alarm codes to the premises, as
                       applicable, to the applicable landlord, or if not by delivering such keys and
                       codes, then by providing notice, in writing, that the landlord may re-let the
                       premises; or (c) such date as agreed between the parties.

               e.      Unresolved Objections. If a timely objection is filed that cannot be
                       resolved, Debtors shall file a notice of hearing to consider the unresolved
                       objection. If such objection is overruled or withdrawn, such Contract(s)
                       shall be rejected as of the Rejection Date set forth in the Rejection Notice
                       or such other date as Debtors and the pertinent counterparty or
                       counterparties otherwise agree.

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                f.      No Application of Security Deposits. If Debtors have deposited monies
                        with a Contract counterparty as a security deposit or other arrangement,
                        such Contract counterparty may not setoff, recoup, or otherwise use such
                        monies without further order of the Court.

                g.      Abandoned Property. Debtors are authorized, but not directed, at any time
                        on or after the applicable Rejection Date, to remove or abandon any of
                        Debtors’ personal property that is burdensome to remove or of
                        inconsequential value that may be located on Debtors’ leased premises that
                        are subject to a rejected Contract. Debtors shall generally describe the
                        abandoned personal property in the Rejection Notice. Absent a timely
                        objection, the property will be deemed abandoned pursuant to Bankruptcy
                        Code section 554, as is, effective as of the Rejection Date. Landlords may,
                        in their sole discretion and without further notice or order of this Court,
                        utilize and/or dispose of such abandoned property without notice or liability
                        to the Debtors or third parties and, to the extent applicable, the automatic
                        stay is modified to allow such disposition.

                h.      Rejection Damages. Claims arising out of the rejection of Contracts, if any,
                        must be filed on or before the later of (i) thirty (30) days after the date of
                        service of the applicable Rejection Order and (ii) any applicable claims bar
                        date for filing proofs of claim established in these chapter 11 cases. If no
                        proof of claim is timely filed, such claimant shall be forever barred from
                        asserting a claim for damages arising from the rejection and from
                        participating in any distributions on such a claim that may be made in
                        connection with these chapter 11 cases.

      3.        Debtors’ relief requested in connection with the assumption and/or the assumption

 and assignment of Contracts during the course of Debtors’ chapter 11 cases is hereby adjourned to

 the Omnibus Hearing scheduled for May 30, 2019 at 10:00 a.m. (Prevailing Eastern Time).

      4.        Debtors are authorized to take all actions necessary to effectuate the relief granted

 pursuant to this Order in accordance with the Motion and the Rejection Notice.

      5.        The Rejection Procedures shall govern the rejection of Contracts in these chapter

 11 cases, except to the extent Debtors and a counterparty or counterparties to a Contract have

 agreed otherwise in writing and the Prepetition Secured Parties and the Committee have received

 notice and an opportunity to object to such alternative agreement, in which case the terms of such




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 alternative agreement shall govern the rejection of the Contract with respect to such counterparty

 or counterparties.

      6.        Nothing in the Motion or this Order shall be deemed or construed as: (a) an

 admission as to the validity, amount, or priority of any particular claim against Debtors; (b) a

 waiver of Debtors’ rights to dispute any particular claim on any grounds; (c) a promise to pay any

 particular claim; (d) an assumption or rejection of any executory contract or unexpired lease

 pursuant to Bankruptcy Code section 365; (e) an implication or admission that any particular claim

 is of a type specified or defined in the Motion; (f) an admission by Debtors that a Contract is

 executory or unexpired, as applicable; or (g) a waiver or limitation of Debtors’ rights under the

 Bankruptcy Code or any other applicable law.

      7.        All rights and defenses of Debtors with respect to any Contract are preserved,

 including all rights and defenses of Debtors with respect to any subsequently filed proof of claim

 for damages arising as a result of a Contract rejection, including, but not limited to, any right of

 Debtors to assert an offset, recoupment, counterclaim, or deduction. In addition, nothing in this

 Order or the Motion shall limit Debtors’ ability to subsequently assert that any particular Contract

 is terminated and/or is not an executory contract or unexpired lease, respectively.

      8.        Notwithstanding the approval of the Contract Procedures, nothing contained in this

 Order shall prevent Debtors from seeking to reject or assume any Contract or Contracts by separate

 motion.

      9.        Notwithstanding anything to the contrary contained in this Order or in the Motion,

 any payment, obligation or other relief authorized by this Order shall be subject to and limited by

 the requirements imposed on Debtors under the terms of any interim or final orders regarding the

 use of cash collateral (any such order, a “Cash Collateral Order”) or any budget in connection



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 therewith, approved by the Court in these chapter 11 cases. In the event of any conflict between

 the terms of this Order and the Cash Collateral Order, the terms of the Cash Collateral Order shall

 control (solely to the extent of such conflict).

     10.        Notwithstanding Bankruptcy Rule 6004(h), this Order shall be effective and

 enforceable immediately upon entry hereof.

     11.        The requirements set forth in Local Bankruptcy Rule 9013-1(b) are satisfied by the

 contents of the Motion.

     12.        Debtors are authorized and empowered to take all actions necessary to implement

 the relief granted in this Order.

     13.        This Court shall retain jurisdiction with respect to all matters arising from or related

 to the implementation or interpretation of this Order.


  New York, NY
  Dated: May 21st, 2019
                                                    /s/ STUART M. BERNSTEIN
                                                    THE HONORABLE STUART M. BERNSTEIN
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT 1

                                Form Rejection Notice
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     Steven J. Reisman, Esq.                                      Peter A. Siddiqui, Esq. (admitted pro hac vice)
     Jerry L. Hall, Esq. (admitted pro hac vice)                  KATTEN MUCHIN ROSENMAN LLP
     Cindi Giglio, Esq.                                           525 W. Monroe Street
     KATTEN MUCHIN ROSENMAN LLP                                   Chicago, IL 60661
     575 Madison Avenue                                           Telephone:     (312) 902-5455
     New York, NY 10022                                           Facsimile:     (312) 902-1061
     Telephone:      (212) 940-8800                               peter.siddiqui@kattenlaw.com
     Facsimile:      (212) 940-8876
     sreisman@kattenlaw.com
     jerry.hall@kattenlaw.com
     cindi.giglio@kattenlaw.com


     Counsel to Debtors and Debtors-in-Possession

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                  )
     In re:                                                       )        Chapter 11
                                                                  )
     SIZMEK INC., et al.,1                                        )        Case No. 19-10971 (SMB)
                                                                  )
                                        Debtors.                  )        (Jointly Administered)
                                                                  )

              NOTICE OF REJECTION OF [A] CERTAIN EXECUTORY CONTRACT[S]
                             [AND/OR UNEXPIRED LEASE[S]]

                    PLEASE TAKE NOTICE that, on [                                      ], 2019, the United States

 Bankruptcy Court for the Southern District of New York (the “Court”) entered the order [Docket

 No.       ] (the “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to

 Bankruptcy Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local

 Bankruptcy Rule 6006-1, authorizing and approving, among other things, procedures for Debtors

 to reject executory contracts and unexpired leases (each a “Contract”).



 1
       Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
       Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. and
       (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these
       chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
       Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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                PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order

 and by this written notice (this “Rejection Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in

 Schedule 1, or such other date as Debtors and the counterparty or counterparties to such

 Contract(s) agree.

                PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 rejection of any Contract listed in Schedule 1 must file and serve a written objection, so that such

 objection is filed with the Court and is actually received no later than fourteen (14) calendar days

 after the date that Debtors served this Rejection Notice, upon the following parties: (i) counsel to

 Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven

 J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W. Monroe

 Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii) the Office

 of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New

 York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii) counsel to the

 Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Americas,

 39th Floor, Los Angeles, CA 90067, Attn: Thomas E. Patterson and David A. Filder

 (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); (iv) proposed counsel to the Committee,

 Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael Klein

 (svanaalten@cooley.com and mklein@cooley.com); and (v) to the extent not listed herein, any

 such other party entitled to notice pursuant to Local Bankruptcy Rule 9013-1(b).

                PLEASE TAKE FURTHER NOTICE that, absent an objection being timely

 filed, the rejection of any Contract listed on Schedule 1 shall become effective on the Rejection



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 Date set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i)

 Debtors withdraw such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Rejection Date, upon another such date.3

                  PLEASE TAKE FURTHER NOTICE that, if a timely objection to the rejection

 of any Contract listed on Schedule 1 is timely filed and not withdrawn or resolved, Debtors shall

 file a notice of hearing to consider the unresolved objection. If such objection is overruled or

 withdrawn, Debtors will file with the Court a proposed order under certification of counsel (the

 “Rejection Order”) confirming the absence of a timely objection and the rejection of the

 Contract(s), and such Contract(s) shall be deemed rejected as of the Rejection Date set forth in

 Schedule 1 or such other date as Debtors and the counterparty or counterparties to such Contract(s)

 agree.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, if

 Debtors have deposited monies with a Contract counterparty as a security deposit or other

 arrangement, the Contract counterparty may not set off or recoup or otherwise use such monies

 without further order of the Court, unless Debtors and the counterparty or counterparties to such

 Contract(s) otherwise agree.

                  PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of Debtors that is listed and described in Schedule 1 shall be deemed abandoned as of

 the Rejection Date set forth on Schedule 1.

                  PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert any




 3
     An objection to the rejection of any particular Contract listed in Schedule 1 to this Rejection Notice shall not
     constitute an objection to the rejection of any other Contract listed in Schedule 1. Any objection to the rejection
     of any particular Contract must state with specificity the Contract to which it is directed. For each particular
     Contract whose rejection is not timely or properly objected to, such rejection will be effective in accordance
     with this Rejection Notice and the Order

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 claim(s) arising out of the rejection of your Contract(s) listed on Schedule 1, you must do so before

 the later of (i) thirty (30) days after the date of service of the Rejection Order and (ii) any applicable

 claims bar date for filing proofs of claim established in these chapter 11 cases. FAILURE TO

 TIMELY FILE ANY PROOF OF CLAIM SHALL RESULT IN SUCH CLAIM BEING

 FOREVER BARRED.



 Dated: May _____, 2019                                  /s/
 New York, New York                                      KATTEN MUCHIN ROSENMAN LLP
                                                         Steven J. Reisman, Esq.
                                                         Jerry L. Hall, Esq. (admitted pro hac vice)
                                                         Cindi M. Giglio, Esq.
                                                         575 Madison Avenue
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                                                         Email:     sreisman@kattenlaw.com
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                                                                   cindi.giglio@kattenlaw.com

                                                         -and-

                                                         Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                                         KATTEN MUCHIN ROSENMAN LLP
                                                         525 W. Monroe Street
                                                         Chicago, IL 60661
                                                         Telephone: (312) 902-5455
                                                         Email:      peter.siddiqui@kattenlaw.com

                                                         Counsel to Debtors and Debtors-in-Possession




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                                    SCHEDULE 1

                                  Rejected Contracts

   Debtors(s)    Counterparty    Counterparty   Description    Abandoned     Rejection
    Party to                       Address          of          Personal       Date
   Contract                                      Contract       Property
